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                         UNITED STATES BANKRUPTCY COURT

                                            FOR THE

                            EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division

     In the Matter of:
                                                   Chapter 13
     PATRICK ROCH
                                                   Case No. 18-13759-KHK

                           Debtor

                             MOTION TO DISMISS,
                        NOTICE OF MOTION TO DISMISS
                                   AND
                NOTICE OF SCHEDULED HEARING ON THIS MOTION

     Thomas P. Gorman, Chapter 13 Trustee, has filed this motion to dismiss your Chapter
     13 case. The cause for this motion is as follows:
            Pursuant to 11 U.S.C. §1307(c)(6) - Material default by Debtor as is reflected
            in the attached Trustee’s Report of Receipts and Disbursements. Debtor has
            only made two of his four Plan payments.

            Your rights may be affected. You should read these papers carefully and
     discuss them with your attorney, if you have one in this bankruptcy case. (If you
     do not have an attorney, you may wish to consult one.)
            If you do not wish the court to grant the relief sought in the motion, or if you
     want the court to consider your views on the motion, then on or before five business
     days prior to the hearing date, you or your attorney must:
            File with the court a written response with supporting memorandum as required
            by Local Bankruptcy Rule 9013-1(H). Unless a written response and
            supporting memorandum are filed and served by the date specified, the Court
            may deem any opposition waived, treat the motion as conceded, and issue an
            order granting the requested relief without further notice or hearing. If you mail
            your response to the court for filing, you must mail it early enough so the court
            will receive it on or before five business days prior to the scheduled hearing.
            You must mail a copy to the persons listed below.

     Attend the hearing to be held on April 11, 2019 at 9:30 a.m., in Courtroom III on the
     3rd floor, United States Bankruptcy Court, 200 South Washington Street, Alexandria,
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     Notice and Motion to Dismiss
     Patrick Roch, Case #18-13759-KHK

     VA 22314. If no timely response has been filed opposing the relief requested, the court
     may grant the relief without holding a hearing.

            A copy of any written response must be mailed to the following persons:

                                   Thomas P. Gorman
                                   300 North Washington Street, Ste.400
                                   Alexandria, VA 22314

                                   Clerk of the Court
                                   United States Bankruptcy Court
                                   200 South Washington Street
                                   Alexandria, VA 22314

            If you or your attorney do not take steps, the court may decide that you do not
     oppose the relief sought in the motion and may enter an order granting that relief.

     Date: _March 14, 2019_____                          __/s/ Thomas P. Gorman______
                                                         Thomas P. Gorman
                                                         Chapter 13 Trustee
                                                         300 N. Washington Street, #400
                                                         Alexandria, VA 22314
                                                         (703) 836-2226
                                                         VSB 26421

                                 CERTIFICATE OF SERVICE

     I hereby certify that I have this 14h day of March, 2019, served via ECF to authorized
     users or mailed a true copy of the foregoing Motion to Dismiss, Notice of Motion and
     Notice of Hearing to the following parties.

     Patrick Roch                                 Ashvin Pandurangi
     Chapter 13 Debtor                            Attorney for Debtor
     102 Reflection Way                           Ap Law Group, PLC
     Sterling, VA 20164                           211 Park Ave.
                                                  Falls Church, VA 22046

                                                         __/s/ Thomas P. Gorman______
                                                         Thomas P. Gorman
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                                           Filed 03/14/19    Entered
                                                  Standing Chapter      03/14/19 15:57:41
                                                                   13 Trustee                                                              Desc Main
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                                   INTERIM STATEMENT AS OF 03/14/2019
                                                                      4
 CASE NO: 18-13759-KHK
STATUS: BASE PLAN
                                        DEBTOR: XXX-XX-6142
                                        ROCH, PATRICK                                                                      SCHEDULE:             695.34 MONTHLY
                                 AKA:                                                                                     TOTAL PAID:                    1,235.58
       DATE FILED: 11/06/2018           102 REFLECTION WAY                                                                        LAST 12 TRANSACTIONS
                                        STERLING, VA 20164                                                               Date           Source                Amount
      CONFIRMED:
                                                                                                                         02/19/19 BILL PAYER                 695.34
       LATEST 341: 12/04/2018                                                                                            12/07/18 MO                         540.24
   PERCENTAGE:           1.000                   ATTORNEY: ASHVIN PANDURANGI
                                                           AP LAW GROUP, PLC
             PLAN: 60 MONTHS                               211 PARK AVE.
                                                           FALLS CHURCH, VA 22046
       1st PAYMENT DUE: 12/2018                            Phone:571 969-6540 Fax: 571 699-0518
           ON SCHEDULE:             2,086.02          Needed to Complete Base:
       ACTUAL PAYMENTS:             1,235.58                              BASE:         41,720.40
        AMOUNT BEHIND:                  850.44                                          40,484.82




PLAN AND FILED CLAIMS
CLAIM NO CRED       CREDITOR NAME                    DISB CODE CLASS INT. BEGIN                FIX PAY ORG. CLAIM        APPROVED        PRIN. PAID      PRIN. DUE
          NO        CLAIM REMARK                     LAST DISB PAY%     INT. RATE              ARREARS SCHED AMT         TO BE PAID       INT. PAID       INT. DUE
001       349550    MB FINANCIAL BANK                  FIX      SEC                                610.87    33,597.62      33,597.62             0.00    33,597.62
                                                                 100.00                          1,832.61    25,036.42      33,597.62             0.00         0.00
002       349209    AFFIRM INC                         PRO      UNS                                  0.00         0.00           0.00             0.00     Not Filed
                                                                   1.00                              0.00       957.00           0.00             0.00
003       349562    ALLRED, BACON, HALFHILL & YOUNG, P PRO      UNS                                  0.00    25,683.22      25,683.22             0.00      256.83
                                                                   1.00                              0.00    25,000.00         256.83             0.00         0.00
004       348050    AMERICAN EXPRESS NATIONAL BANK     PRO      UNS                                  0.00    34,196.34      34,196.34             0.00      341.96
                                                                   1.00                              0.00    34,199.00         341.96             0.00         0.00
005       313858    BANK OF AMERICA                    PRO      UNS                                  0.00         0.00           0.00             0.00     Not Filed
                                                                   1.00                              0.00     2,000.00           0.00             0.00
006       PORT      PORTFOLIO RECOVERY ASSOCIATES      PRO      UNS                                  0.00    12,782.70      12,782.70             0.00      127.83
                    BARCLAY CARD                                   1.00                              0.00    12,782.00         127.83             0.00         0.00
007       348897    BARCLAY CARD                       PRO      UNS                                  0.00         0.00           0.00             0.00     Not Filed
                                                                   1.00                              0.00    12,782.70           0.00             0.00
008       349502    BMW FINANCIAL SERVICES NA, LLC.    PRO      UNS                                  0.00     8,065.24       8,065.24             0.00        80.65
                    LEASE- DEFICIENCY BALANCE                      1.00                              0.00     8,065.00          80.65             0.00         0.00
008A      347640    BMW FINANCIAL SERVICES NA, LLC     PRO      UNS                                  0.00       137.76         137.76             0.00         1.38
                    LEASE DEFICIENCY                               1.00                              0.00         0.00           1.38             0.00         0.00
009       321355    CAPITAL ONE BANK USA NA            PRO      UNS                                  0.00         0.00           0.00             0.00     Not Filed
                                                                   1.00                              0.00     2,000.00           0.00             0.00
010       349280    CHASE BANK                         PRO      UNS                                  0.00    14,141.46      14,141.46             0.00      141.41
                                                                   1.00                              0.00    14,141.00         141.41             0.00         0.00
011       349440    MIRROR RIDGE HOA                   PRO      UNS                                  0.00         0.00           0.00             0.00     Not Filed
                                                                   1.00                              0.00     1,685.00           0.00             0.00
012       346608    VERIZON BY AMERICAN INFOSOURCE     PRO-A    UNS                                  0.00       172.10         172.10             0.00         1.72
                    UNLISTED                                       1.00                              0.00         0.00           1.72             0.00         0.00
013       331956    GM FINANCIAL                       PRO-I    UNS                                  0.00         0.00           0.00             0.00       Closed
                    AUTO LEASE - TO BE ASSUMED                     1.00                              0.00         0.00           0.00             0.00




** Creditor has not filed a Proof of Claim. Accumulated funds will be released to other creditors if no claim is filed with the U.S. Bankruptcy Court
by the date of the scheduled Chapter 13 Review Meeting.
Claims with an A code in the DISB/CODE column are placed on hold and need to be resolved. NO disbursements are being made to the creditor.
This is a progress report only and should not be used to calculate a payoff.                                                             Case Maintenance 10.5
              Case 18-13759-KHK Thomas
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                                           Filed 03/14/19    Entered
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 CASE NO: 18-13759-KHK
STATUS: BASE PLAN
                                        DEBTOR: XXX-XX-6142
                                        ROCH, PATRICK                                                                        SCHEDULE:         695.34 MONTHLY
PLAN AND FILED CLAIMS
CLAIM NO CRED       CREDITOR NAME                          DISB CODE CLASS         INT. BEGIN     FIX PAY ORG. CLAIM        APPROVED      PRIN. PAID    PRIN. DUE
          NO        CLAIM REMARK                           LAST DISB PAY%          INT. RATE      ARREARS SCHED AMT         TO BE PAID     INT. PAID     INT. DUE
799       PANDU     ASHVIN PANDURANGI                        PRO          ATY                          0.00      4,500.00      3,000.00         0.00      3,000.00
                                                                          100.00                       0.00      4,500.00      3,000.00         0.00          0.00
                    Trustee Administrative Fees                                                                                   86.49        86.49
                                                                         TOTALS:                      610.87   133,276.44    131,862.93        86.49     37,549.40
                                                                                                    1,832.61   143,148.12     37,635.89         0.00          0.00


                             ADMIN        ATTORNEY         PRIORITY          SECURED       UNSECURED              OTHER

      SCHED AMOUNT:              0.00         4,500.00           0.00         25,036.42         113,611.70           0.00
      CLAIM AMOUNT:              0.00         3,000.00           0.00         33,597.62            951.78            0.00
   PAID BY TRUSTEE:              0.00             0.00           0.00               0.00              0.00           0.00
  PAID BY 3rd PARTY:             0.00             0.00           0.00               0.00              0.00           0.00

         SUB TOTAL:              0.00         3,000.00           0.00         33,597.62            951.78            0.00         DUE CREDITORS:         37,549.40
      INTEREST DUE:              0.00             0.00            0.00              0.00              0.00           0.00       EXPECTED ADMIN:           2,739.81
        CONTINUING:              0.00             0.00           0.00               0.00             0.00            0.00         LESS AVAILABLE:         1,149.09

       BALANCE DUE:              0.00         3,000.00           0.00         33,597.62            951.78            0.00       APPROX BALANCE:          39,140.12




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